                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                            Plaintiff,         )
                                               )
                     v.                        )            No. 13-4051-04-CR-C-BCW
                                               )
MANEKA ROCHON GERMANY,                         )
                                               )
                            Defendant.         )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The defendant, by consent, appeared before the undersigned on June 5, 2015 and
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j), and 28
U.S.C. § 636, has entered a plea of guilty to Count Eight of the Second Superseding Indictment.
After cautioning and examining Defendant, under oath, in accordance with the requirements of
Rule 11, it was determined that the guilty plea was knowledgeable and voluntary, and that the
offense to which Defendant has plead guilty is supported by a factual basis for each of the
essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that the
defendant be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                              Matt J. Whitworth
                                             MATT J. WHITWORTH
                                             United States Magistrate Judge

August 31, 2015
Jefferson City, Missouri




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